Case 1:21-cr-00119-BLW Document1 Filed 04/14/21 Page 1 of 4

RAFAEL M. GONZALEZ, JR.

ACTING UNITED STATES ATTORNEY

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DISTRICT OF IDAHO
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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF IDAHO
UNITED STATES OF AMERICA,
Case No. Wy) ory 4
Plaintiff, CH 21-119 ~s BL
INDICTMENT
VS.
18 U.S.C. §2
OLIVER YARDLEY, 18 U.S.C. § 922(g)(1)
21 U.S.C. §§ 841(a)(1) and (b)(1)(B), 846
Defendant. 21 ULS.C, § 853
The Grand Jury charges:
COUNT ONE

Distribution of Methamphetamine
18 U.S.C. § 2, 21 U.S.C, § 841(a)(1) and (b)(1)(B)

On or about August 26, 2019, in the District of Idaho, the defendant, OLIVER
YARDLEY, did knowingly and intentionally distribute five grams or more of actual
methamphetamine, a Schedule II controlled substance, and aided and abetted the same, in
violation of Title 18, United States Code, Section 2, and Title 21, United States Code, Section

841(a)(1) and (b)(1)(B).

INDICTMENT - 1

 
Case 1:21-cr-00119-BLW Document1 Filed 04/14/21 Page 2 of 4

COUNT TWO

Distribution of Methamphetamine
18 U.S.C. § 2, 21 U.S.C, § 841(a)(1) and (b)(1)(B)

On or about August 28, 2019, in the District of Idaho, the defendant, OLIVER
YARDLEY, did knowingly and intentionally distribute five grams or more of actual
methamphetamine, a Schedule II controlled substance, and aided and abetted the same, in
violation of Title 18, United States Code, Section 2, and Title 21, United States Code, Section
841(a)(1) and (b)(1)(B).

COUNT THREE

Distribution of Methamphetamine
18 U.S.C, § 2, 21 U.S.C. § 841(a)(1) and (b)(1)(B)

On or about September 6, 2019, in the District of Idaho, the defendant, OLIVER
YARDLEY, did knowingly and intentionally distribute fifty grams or more of a mixture and
substance containing a detectable amount of methamphetamine, a Schedule II controlled
substance, and aided and abetted the same, in violation of Title 18, United States Code, Section
2, and Title 21, United States Code, Section 841(a)(1) and (b)(1)(B).

COUNT FOUR

Conspiracy to Distribute Methamphetamine
21 U.S.C. §§ 841(a)(1), (b)(12)(B), and 846

On or between August 26, 2019, and September 6, 2019, in the District of Idaho, the
defendant, OLIVER YARDLEY, knowingly and intentionally conspired and agreed with another
person with the initials A.C., to commit the following offense against the United States: to
distribute fifty grams or more of a mixture and substance containing a detectable amount of
methamphetamine, a Schedule IE controlled substance, in violation of Title 21, United States

Code, Sections 841(a)(1), (b)(1)(B) and 846.

INDICTMENT - 2

 
Case 1:21-cr-00119-BLW Document1 Filed 04/14/21 Page 3 of 4

COUNT FIVE

Unlawful Possession of Firearms
18 U.S.C. § 922(¢)(1)

On or about September 6, 2019, in the District of Idaho, the defendant, OLIVER
YARDLEY, knowing that he had been convicted of a crime punishable by imprisonment for a
term exceeding one year, that is, possession of a controlled substance, entered on or about March
7, 2005, in case number CR-FE-2004-1468, in Fourth Fudicial District Court for the State of
Idaho, County of Ada, did knowingly possess firearms, that is, a Ruger, Model P90, .45 ACP
caliber pistol, bearing serial number 661-44857, and a Cobra Enterprises of Utah, Model CA-
380, .380 caliber pistol, bearing serial number CP093917, said firearms having been shipped ‘and
transported in interstate and foreign commerce, in violation of Title 18, United States Code,
Section 922(g)(1).

CRIMINAL FORFEITURE ALLEGATION
Drug Forfeiture
21 U.S.C. § 853

Upon conviction of the offenses alleged in Counts One, Two, Three, and Four of this
Indictment, the defendant, OLIVER YARDLEY, shall forfeit to the United States any and all
property, real and personal, tangible and intangible, consisting of or derived from any proceeds
the said defendant obtained directly or indirectly as a result of the foregoing offenses; and any
and all property, real and personal, tangible and intangible, used or intended to be used, in any
manner or part, to commit, or to facilitate the commission of, the foregoing offenses. The
property to be forfeited includes, but is not limited to, the following:

1. Unrecovered Cash Proceeds and/or Facilitating Property. The defendant obtained

 

and controlled unrecovered proceeds of the offense of conviction, or property derived from or

traceable to such proceeds, and property the defendant used to facilitate the offense (if

INDICTMENT - 3

 
Case 1:21-cr-00119-BLW Document1 Filed 04/14/21 Page 4 of 4

facilitation is alleged), but based upon actions of the defendant, the property was transferred,
diminished, comingled, or is otherwise unavailable.

2. Substitute Assets. Pursuant to 21 U.S.C. § 853(p) and other applicable statutes,
the government will seek forfeiture of substitute assets, “or any other property of the defendant”
up to the value of the defendant’s assets subject to forfeiture. The government will do so when

the property subject to forfeiture cannot be forfeited for one or more of the following reasons:

a. Cannot be located upon the exercise of due diligence;

b. Has been transferred or sold to, or deposited with, a third person;

C. Has been placed beyond the jurisdiction of the court;

d. Has been substantially diminished in value; or

e. Has been commingled with other property which cannot be subdivided
without difficulty.

Dated this 13th day of April, 2021.

A TRUE BILL

/s/ [signature on reverse}

 

FOREPERSON

RAFAEL M, GONZALEZ, JR.
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cer T UNITED STATES ATTORNEY

INDICTMENT - 4

 
